 After Remand from the Alabama Supreme Court
The prior judgment of this court affirming, without an opinion, the judgment of the trial court has been reversed and the cause remanded by the Supreme Court of Alabama. Exparte Addison Fabricators, Inc., 989 So.2d 498 (Ala. 2007). On remand to this court, and in compliance with the Supreme Court's opinion, the judgment of the trial court is hereby reversed, and the cause is remanded "for the trial court to determine the extent of injury to [Ernest] Davis's right index finger, right hand, and right arm, and the extent of disability benefits to which he is entitled." 989 So.2d at 503.
REVERSED AND REMANDED.
All the judges concur.